Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 1 of 63 PageID #:
                                 108550




                                  Exhibit 1
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 2 of 63 PageID #:
                                 108551
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 3 of 63 PageID #:
                                 108552
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 4 of 63 PageID #:
                                 108553
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 5 of 63 PageID #:
                                 108554
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 6 of 63 PageID #:
                                 108555
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 7 of 63 PageID #:
                                 108556
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 8 of 63 PageID #:
                                 108557
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 9 of 63 PageID #:
                                 108558
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 10 of 63 PageID #:
                                  108559
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 11 of 63 PageID #:
                                  108560
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 12 of 63 PageID #:
                                  108561
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 13 of 63 PageID #:
                                  108562
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 14 of 63 PageID #:
                                  108563
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 15 of 63 PageID #:
                                  108564
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 16 of 63 PageID #:
                                  108565
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 17 of 63 PageID #:
                                  108566
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 18 of 63 PageID #:
                                  108567
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 19 of 63 PageID #:
                                  108568
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 20 of 63 PageID #:
                                  108569
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 21 of 63 PageID #:
                                  108570
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 22 of 63 PageID #:
                                  108571
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 23 of 63 PageID #:
                                  108572




                               Exhibits 2D-3b
                           Redacted in the entirety
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 24 of 63 PageID #:
                                  108573




                                  Exhibit 4
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 25 of 63 PageID #:
                                  108574
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 26 of 63 PageID #:
                                  108575
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 27 of 63 PageID #:
                                  108576




                                  Exhibit 5
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 28 of 63 PageID #:
                                  108577



                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE


   PAR PHARMACEUTICAL, INC., et
   al.,                                         C.A. No. 18-2032-CFC-CJB

                      Plaintiffs,               CONFIDENTIAL –
         v.                                     PURSUANT TO
                                                PROTECTIVE ORDER
   AMNEAL PHARMACEUTICALS
   OF NEW YORK, LLC, et al.,                    FILED UNDER SEAL

                      Defendants.




    STIPULATED [PROPOSED] ORDER REGARDING INFRINGEMENT
       NOW, THEREFORE, IT IS HEREY STIPULATED AND AGREED by

 Defendants (“Amneal”), through their undersigned counsel and subject to the

 approval of the Court, as follows:

       1.     In the event that Amneal were to amend the highest permissible pH in

 the release and stability pH specifications of ANDA No. 212944 and/or ANDA

 No. 212945 to meet or exceed a pH of 3.65, then the proposed products of those

 ANDAs would infringe all valid asserted claims of U.S. Patent Nos. 9,744,209 and

 9,750,785 in this action; and
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 29 of 63 PageID #:
                                  108578



       2.     During the life of the asserted patents in this action, Amneal shall

 notify the FDA, Plaintiffs, and the Court of any change in Amneal’s release or

 stability pH specifications which include a pH level of 3.65.

 Dated: November 4, 2021

                                               YOUNG CONAWAY STARGATT &
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                                               Counsel for Defendants Amneal
                                               Pharmaceuticals Of New York, LLC,
                                               Amneal Biosciences LLC, Amneal
                                               Pharmaceuticals Pvt. Ltd., and Amneal
                                               EU, Limited

       SO ORDERED this ___ day of __________, 202__.



                                  ____________________________________
                                  The Honorable Colm F. Connolly
                                  Chief, United States District Judge




                                           2
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 30 of 63 PageID #:
                                  108579




                                  Exhibit 6
Case
 Case1:19-cv-00444-CFC-CJB
      1:18-cv-02032-CFC-CJB Document
                             Document391  Filed
                                      313-1      08/05/21
                                              Filed        Page
                                                    11/12/21    1 of31
                                                             Page    5 PageID  #: 13183
                                                                       of 63 PageID  #:
                                     108580



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

  BIODELIVERY SCIENCES                           )
  INTERNATIONAL, INC. and ARIUS                  )
  TWO, INC.,                                     )
                                                 )
                 Plaintiffs,                     )       5('$&7('  38%/,& 9(56,21
                                                 )
         v.                                      )      Civil Action No. 19-444-CFC-CJB
                                                 )
  CHEMO RESEARCH, S.L., INSUD                    )
  PHARMA S.L., INTELGENX CORP.                   )
  and INTELGENX TECHNOLOGIES                     )
  CORP.,                                         )
                                                 )
                 Defendants.                     )

                                     MEMORANDUM ORDER

         At Wilmington, Delaware this 11th day of June, 2021.

         WHEREAS, Plaintiffs BioDelivery Sciences International, Inc. and Arius Two, Inc.

  (“Plaintiffs”) have filed a Renewed Motion to Stay, (D.I. 346) (the “Motion”), the Court has

  considered the briefing related thereto, (D.I. 340; D.I. 341; D.I. 342; D.I. 347; D.I. 352; D.I. 354;

  D.I. 362; D.I. 368), and the Court has further heard argument on June 8, 2021, 1

         NOW, THEREFORE, IT IS HEREBY ORDERED as follows:

         1.      As an initial matter, the Court notes that it has considered the three stay-related

  factors: (1) whether a stay will simplify the issues and trial of the case; (2) whether discovery is

  complete and a trial date has been set; and (3) whether a stay would unduly prejudice or present a

  clear tactical disadvantage to the non-moving party. See CIMA Labs Inc. v. Mylan Pharms., Inc.,




         1
                  This case is referred to the Court to resolve all disputes relating to discovery and
  the protective order. (D.I. 57)
Case
 Case1:19-cv-00444-CFC-CJB
      1:18-cv-02032-CFC-CJB Document
                             Document391  Filed
                                      313-1      08/05/21
                                              Filed        Page
                                                    11/12/21    2 of32
                                                             Page    5 PageID  #: 13184
                                                                       of 63 PageID  #:
                                     108581



  C.A. No. 10-625-LPS, 2011 WL 1479062, at *2 (D. Del. Apr. 18, 2011). Having taken those

  factors into consideration, the Court HEREBY DENIES the Motion for the reasons that follow.

         2.      It is apparent that much of Plaintiffs’ original focus in the Motion was on the fact

  that, at the time the Motion was filed: (1) Defendants Chemo Research, S.L., Insud Pharma S.L.,

  Intelgenx Corp. and Intelgenx Technologies Corp. (collectively, “Defendants”) had reported that

  although they had previously expected to file their response to an FDA Complete Response

  Letter (“CRL”) and their amended Abbreviated New Drug Application (“ANDA”) by the end of

  the first quarter of 2021, they would not meet those deadlines, and instead now anticipated

  submitting the documents by May 15, 2021; (2) it was unclear if Defendants would in fact meet

  the new May 15, 2021 deadline (in light of the fact that Defendants had missed some prior self-

  imposed deadlines for making these filings); (3) it was unclear if further FDA action would

  cause Defendants to have to change their specification regarding the pH ranges for certain layers

  of film in their proposed generic drug product 2; and (4) Defendants had not produced nearly all

  of the anticipated document discovery regarding the CRL. (D.I. 340; D.I. 347) Plaintiffs argued

  that in light of these uncertainties, the currently scheduled November 15, 2021 infringement trial

  was untenable, and that the case should be stayed until Defendants obtained “tentative approval

  [of their ANDA] or it appears likely that [they] will obtain tentative approval but for minor

  deficiencies.” (D.I. 347 at 8) However, since the filing of the Motion, Defendants did, in fact,

  submit the CRL response and the amended ANDA to the FDA on May 14, 2021. (D.I. 362) By

  May 18, 2021, Defendants also produced the outstanding document discovery to Plaintiffs (this

  discovery totaled over 100,000 pages). (D.I. 362; D.I. 368 at 1) And Defendants have also now




         2
                 The pH ranges of those layers of film are relevant to a key infringement issue in
  the case.
                                                   2
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 33 of 63 PageID #:
                                  108582
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 34 of 63 PageID #:
                                  108583
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 35 of 63 PageID #:
                                  108584
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 36 of 63 PageID #:
                                  108585




                                  Exhibit 7
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 37 of 63 PageID #:
                                  108586
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 38 of 63 PageID #:
                                  108587




                                  Exhibit 8
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 39 of 63 PageID #:
                                  108588



                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

                                              C.A. No. 18-2032-CFC-CJB
   PAR PHARMACEUTICAL, INC., et               (consolidated)
   al.,
                                              CONTAINS CONFIDENTIAL
                     Plaintiffs,              OR HIGHLY
           v.                                 CONFIDENTIAL – OUTSIDE
                                              COUNSEL’S EYES ONLY
   AMNEAL PHARMACEUTICALS                     INFORMATION –
   OF NEW YORK, LLC, et al.,                  PURSUANT TO
                                              PROTECTIVE ORDER
                     Defendants.
                                              FILED UNDER SEAL

     OPENING BRIEF IN SUPPORT OF DEFENDANTS’ MOTION FOR
          SUMMARY JUDGMENT OF NON-INFRINGEMENT


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                                   Pvt. Ltd., and Amneal EU, Limited
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 40 of 63 PageID #:
                                  108589



                                           TABLE OF CONTENTS


 Introduction ................................................................................................................1
 Nature and Stage of Proceedings ...............................................................................2
 Legal Standard for Summary Judgment ....................................................................5
 Summary of Argument ..............................................................................................5
 Statement of Facts ......................................................................................................6
 Argument ...................................................................................................................6
    I.      As a Matter of Law, Amneal’s ANDA Products Do Not Infringe. ..............6
    II.                                                                                                       .............10
 Conclusion ...............................................................................................................12




                                                               i
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 41 of 63 PageID #:
                                  108590




                                         TABLE OF AUTHORITIES

                                                                                                                     Page(s)

 Cases
 Abbott Labs. v. Impax Labs., Inc.,
   C.A. No. 00-c-7865, 2003 WL 1563426 (N.D. Ill. Mar. 26, 2003) ..................... 7

 Bayer AG v. Elan Pharm. Res. Corp.,
   212 F.3d 1241 (Fed. Cir. 2000) ...................................................................passim

 Bayer AG v. Elan Pharm. Res. Corp.,
   64 F. Supp. 2d 1295 (N.D. Ga. 1999) ...........................................................11, 12

 In re Brimonidine Patent Litigation,
     643 F.3d 1366 (Fed. Cir. 2011) ......................................................................1, 10

 Celotex Corp. v. Catrett,
    477 U.S. 317 (1986) ..............................................................................................5

 In re Fenofibrate Patent Litig.,
     910 F. Supp. 2d 708 (2012), aff’d, 499 Fed. Appx. 974 (Fed. Cir.
     2013) .....................................................................................................................8

 Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp.,
   475 U.S. 574 (1986) ..............................................................................................5

 Par Pharm., Inc. v. Eagle Pharm., Inc.,
   C.A. No. 18-0823, 2021 WL 3886418 (D. Del. Aug. 31, 2021) .................passim

 Smithkline Beecham Corp., v. Excel Pharms., Inc.,
   214 F. Supp. 2d 581 (E.D. Va. 2002), vacated on other grounds by
   Smithkline Beecham Corp., v. Excel Pharms., Inc., 356 F.3d 1357
   (Fed. Cir. 2004) .....................................................................................................8
 Williams v. Borough of West Chester, Pa.,
    891 F.2d 458 (3d Cir. 1989) .................................................................................5




                                                               ii
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 42 of 63 PageID #:
                                  108591



 Statutes
 21 U.S.C. § 331(d) ...................................................................................................11

 35 U.S.C. 271(a) ......................................................................................................12

 Other Authorities
 Fed. R. Civ. P. 56(a)...................................................................................................5




                                                           iii
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 43 of 63 PageID #:
                                  108592



                                     Introduction

       The Court should enter summary judgment that Defendants’ (“Amneal’s”)

 proposed ANDA products do not infringe any asserted claim. Simply put, the

 proposed ANDA products are required to have a non-infringing pH. Under

 controlling Federal Circuit precedent, this presents a legal bar to finding

 infringement in a Hatch-Waxman case such as this. E.g., Bayer AG v. Elan

 Pharm. Res. Corp., 212 F.3d 1241, 1248-50 (Fed. Cir. 2000); In re Brimonidine

 Patent Litig., 643 F.3d 1366, 1376-78 (Fed. Cir. 2011).

       This case-dispositive motion is focused, simple, and based on Plaintiffs’

 (“Par’s”) own positions. Specifically, all asserted claims require a product with pH

 values between 3.7 and 3.9. According to Par, pH values between 3.65 and 3.94

 satisfy this claim limitation. But Amneal’s ANDA specifications require the

 ANDA products to have pH values between                      (i.e., outside the claimed

 range) both at release and throughout their entire shelf life.

                                                        Because the ANDA

 specification prohibits a pH in the claimed range, Amneal’s ANDA products

 cannot literally infringe as a matter of law.

       Further simplifying the matter, this Court has recently decided this precise

 issue in a companion case involving the same claim limitation in the same patents.

 See Par Pharm., Inc. v. Eagle Pharm., Inc., C.A. No. 18-0823, 2021 WL 3886418


                                            1
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 44 of 63 PageID #:
                                  108593
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 45 of 63 PageID #:
                                  108594



       All asserted claims require a “unit dosage form that has a pH of 3.7-3.9”

 (“the pH Limitation”). (Id.) Par asserts only that this limitation is literally met;

 Par is not asserting the doctrine of equivalents. (Ex. A at 79:22-82:192; D.I. 247 at

 2 (Dec. 31, 2020 Letter from Par to the Court stating that “Dr. Kirsch’s

 supplemental report presents no new infringement theory, such as doctrine of

 equivalents….”.).) Amneal does not dispute that its proposed ANDA products

 satisfy any other claim limitations. (D.I. 246, Joint Proposed Pretrial Order, Ex. 1,

 Statement of Admitted Facts at p. 16, ¶ 55.)

       Par requested, and the Court ordered, that the pH Limitation be given its

 ordinary meaning. (D.I. 105 at 2.) In a related case involving the Asserted

 Patents, Par asserted (and defendant Eagle Pharmaceuticals Inc. (“Eagle”) agreed)

 that the pH Limitation “is met when the pH is greater than or equal to 3.65 and less

 than or equal to 3.94.” Eagle Opinion at *3. Par has offered the same

 interpretation in this case. (Ex. B at p. 4.) For purposes of this motion, Amneal

 agrees to Par’s articulation of the scope of the pH limitation.

       Discovery has been completed. On June 9, 2021, the Court severed

 Amneal’s non-infringement defense from the scheduled July trial. (Ex. C, June 9,

 2021 Telephone Conference Transcript at 12:11-13:7.) On July 7-9, 2021, the



 2
   Unless otherwise indicated, all references herein to “Ex. __” refer to exhibits to
 the Declaration of Kaveh V. Saba, filed concurrently herewith.

                                            3
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 46 of 63 PageID #:
                                  108595



 Court held a bench trial on Amneal’s and Eagle’s invalidity and unenforceability

 defenses, and on Eagle’s defense of non-infringement. On August 31, 2021, the

 Court issued the Eagle Opinion holding that Eagle did not infringe the Asserted

 Patents. The Court has not yet issued any opinion regarding invalidity or

 unenforceability of the Asserted Claims. The Court has not yet scheduled a trial

 date for Amneal’s non-infringement defense.




                                          4
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 47 of 63 PageID #:
                                  108596



       Further, Amneal has stipulated that if it does change its release or stability

 pH specifications to overlap with the pH range of the claims, Amneal’s ANDA

 product would literally infringe the asserted claims. (Ex. D at 1.)

                     Legal Standard for Summary Judgment

       A court must grant summary judgment “if the movant shows that there is no

 genuine dispute as to any material fact and the movant is entitled to judgment as a

 matter of law.” Fed. R. Civ. P. 56(a). The moving party bears the burden of

 demonstrating the absence of any genuine issues of material fact. Celotex Corp. v.

 Catrett, 477 U.S. 317, 323 (1986).

       If the burden of persuasion at trial would be on the non-movant, then the

 movant may satisfy its burden of production by pointing to an absence of evidence

 supporting the non-movant’s case, after which the burden of production then shifts

 to the non-movant to demonstrate the existence of a genuine issue for trial.

 Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586-87

 (1986); Williams v. Borough of West Chester, Pa., 891 F.2d 458, 460-61 (3d Cir.

 1989).

                               Summary of Argument

       First, the pH specifications in Amneal’s ANDAs indisputably require a pH

 that is outside the pH range of the Asserted Claims. As a matter of law under

 binding Federal Circuit precedent, there can be no literal infringement. Because



                                           5
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 48 of 63 PageID #:
                                  108597



 Par does not assert infringement under the doctrine of equivalents, the Court

 should enter summary judgment of non-infringement.

       Second,



                           —does not present a material issue of fact capable of

 defeating summary judgment. Bayer AG v. Elan Pharm. Res. Corp., 212 F.3d

 1241, 1250 (Fed. Cir. 2000).

                                 Statement of Facts

       The relevant facts are set forth in the Concise Statements of Facts.

                                     Argument

 I.       As a Matter of Law, Amneal’s ANDA Products Do Not Infringe.
       As this Court recently acknowledged, under unequivocal, binding precedent,

 “an ANDA specification defining a proposed generic drug in a manner that directly

 addresses the issue of infringement will control the infringement inquiry.” Eagle

 Opinion at *9-10 (citing In re Brimonidine Patent Litig., 643 F.3d 1366, 1378

 (Fed. Cir. 2011) and Abbott Labs. v. TorPharm, Inc., 300 F.3d 1367, 1373 (Fed.

 Cir. 2002)). Further, “if the product that an ANDA applicant is asking the FDA to

 approve falls outside the scope of an asserted patent, a judgment of

 noninfringement must follow.” Id. at *8.




                                          6
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 49 of 63 PageID #:
                                  108598



       As this Court recognized in the Eagle Opinion, “[t]he infringement analysis

 in an ANDA case is most straightforward when the ANDA’s specification directly

 addresses the elements of the asserted claims that are at issue.” Id. This Court also

 recognized that “if an ANDA specification describes a product that . . . necessarily

 does not infringe the patent, the specification dictates the outcome of the

 infringement analysis.” Id. (citing Ferring B.V. v. Watson Labs., Inc.-Florida, 764

 F.3d 1401, 1409 (Fed. Cir. 2014) and Bayer AG v. Elan Pharm. Res. Corp., 212

 F.3d 1241, 1249 (Fed. Cir. 2000)).

       Summary judgment is an appropriate vehicle to decide non-infringement in

 cases like this where the ANDA controls the inquiry. Bayer affirmed precisely

 such a decision on summary judgment, explaining that the ANDA specification at

 issue “mandates a finding of no literal infringement” because it “directly addresses

 the question of infringement” and “the only drug [defendant] can produce upon

 approval of the ANDA at issue is a drug that does not literally infringe….”. Bayer,

 212 F.3d 1241, 1249-50 (Fed. Cir. 2000).

       Accordingly, district courts grant summary judgment of non-infringement

 where the ANDA describes a non-infringing product. See, e.g., Abbott Labs. v.

 Impax Labs., Inc., C.A. No. 00-c-7865, 2003 WL 1563426, at *6-8 (N.D. Ill. Mar.

 26, 2003) (no literal infringement “as a matter of law” where claims required two

 components to be processed together, but the ANDA required one of them to be


                                           7
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 50 of 63 PageID #:
                                  108599



 processed by itself); In re Fenofibrate Patent Litig., 910 F. Supp. 2d 708, 714-15

 (2012) (no literal infringement where claims required certain ingredients, but the

 ANDA described product lacking those ingredients), aff’d, 499 Fed. Appx. 974

 (Fed. Cir. 2013); Smithkline Beecham Corp., v. Excel Pharms., Inc., 214 F. Supp.

 2d 581, 587 (E.D. Va. 2002) (no literal infringement where claims required two

 ingredients to be in admixture, but the ANDA did not describe those ingredients in

 admixture), vacated on other grounds by Smithkline Beecham Corp., v. Excel

 Pharms., Inc., 356 F.3d 1357, 1365 (Fed. Cir. 2004) (acknowledging no literal

 infringement).

       Here, as in Bayer, Amneal’s ANDA specification “defines its product in a

 way that directly addresses the question of infringement.” Bayer, 212 F.3d at

 1249. Indeed, all Asserted Claims require the product to have a pH between 3.65

 and 3.94, but the ANDA specification expressly and directly prohibits that. This is

 quintessential non-infringement as a matter of law.

       Notably, the Court would not be breaking new ground in granting Amneal’s

 motion. Indeed, the Court need only apply its recent analysis from the Eagle

 Opinion to the operatively identical facts of this case. The Eagle case involved the

 same asserted patents and same non-infringement issue at play here. There, as

 here, to literally infringe, Eagle’s ANDA product had to have a pH of 3.65-3.94.




                                          8
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 51 of 63 PageID #:
                                  108600



 Eagle Opinion at *3. But Eagle’s ANDA release and stability specifications

 required a pH of 3.4 to 3.6. Id. at *4.

         Relying on Par’s own admissions and the applicable regulations as to the

 meaning of “release specification” and “stability specification,” this Court found

 that:

            x the “ANDA product cannot lawfully be released for distribution

               unless, at the time of release, the product has a pH of . . . between 3.35

               and 3.64….” Id. at *4; and

            x the “ANDA product cannot lawfully be distributed for use and would

               not be approved for distribution by the FDA unless, at all periods

               during the product’s shelf life, the product’s pH is between . . . 3.35

               and 3.64….” Id. at *5.

         Because the pH range permitted by the release and stability specifications of

 the Eagle ANDA was outside the claimed range, the Court found no infringement,

 because the Eagle ANDA “defines a noninfringing product.” Id. at *10.

         Here, to reach the same conclusion of non-infringement as to the Amneal

 ANDAs, the Court need only hold Par to its admissions and apply the same

 analysis from the Eagle case. Indeed,



     This is even further outside of the claimed range than the specifications in the


                                            9
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 52 of 63 PageID #:
                                  108601



 Eagle case. Applying these indisputable facts

 to governing precedent and this Court’s own prior analysis on all fours, Amneal’s

 ANDA defines a non-infringing product. This compels a judgment of no literal

 infringement.

 II.




                                              In re Brimonidine, 643 F.3d 1366,

 1376-1378 (Fed. Cir. 2011). Eagle Opinion at *10. The Court should reject it

 again here for the same reasons.




                                         10
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 53 of 63 PageID #:
                                  108602




                                                            The ANDA specification

 in Bayer required the drug substance to have a surface area outside of the claimed

 range. Bayer AG v. Elan Pharm. Res. Corp., 64 F. Supp. 2d 1295, 1300 (N.D. Ga.

 1999). In opposing summary judgment, the patentee offered evidence that over

 time, the surface area of the drug substance would, on its own, drift into the

 claimed range. Id. The district court rejected that evidence and granted summary

 judgment of noninfringement. Id.

       The Federal Circuit affirmed, holding that “[a]lthough there may be factual

 issues as to whether Elan can comply with its specification, they are not material

 factual issues, because 21 U.S.C. § 331(d) prohibits [defendants] from selling any

 product that does not meet its ANDA’s requirements.” Bayer, 212 F.3d at 1250

 (emphasis added). The panel explained that such evidence was “not material,”

 because the ANDA filer could not legally sell any product that did not meet the

 ANDA requirements. Id. at 1250.

                Thus, there is no material fact dispute, and summary judgment is

 appropriate.

       Finally, while a judgment of non-infringement in this ANDA case is

 warranted as a matter of law, Par is not without recourse if it later determines that

 Amneal’s ANDA Products, when marketed, somehow do meet the pH limitation.


                                           11
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 54 of 63 PageID #:
                                  108603



 Par could, for example, bring a separate infringement action under 35 U.S.C.

 271(a). See Bayer, 64 F. Supp. 2d at 1301. But such a possibility of a future

 infringing product, outside of the specifications of the ANDA, has no bearing on

 this case and the judgment of non-infringement that must result.

                                    Conclusion

       For the foregoing reasons, Amneal respectfully requests that the Court grant

 Amneal’s Motion for Summary Judgment of Non-Infringement.


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                                         12
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 55 of 63 PageID #:
                                  108604




                                  Exhibit 9
                            Redacted in the entirety
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 56 of 63 PageID #:
                                  108605




                                 Exhibit 10
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 57 of 63 PageID #:
                                  108606
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 58 of 63 PageID #:
                                  108607
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 59 of 63 PageID #:
                                  108608
Case 1:18-cv-02032-CFC-CJB Document 313-1 Filed 11/12/21 Page 60 of 63 PageID #:
                                  108609
10/27/21, Case
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                                                                         Without             Page
                                                                                 Causing Prices to Soar61  of 63
                                                                                                        | Kaiser   PageID
                                                                                                                 Health News   #:
                                                                        108610
            “I don’t mind paying a lot for innovative drugs, but vasopressin has been
            around much longer than I’ve been alive,” he said. “Par has made a windfall
            from covid. That’s just gaming the system. It’s outrageous.”

            Two other drugmakers have sought, unsuccessfully so far, to develop and
            market a generic alternative to Vasostrict. A German drug company, Fresenius
            Kabi, sued Par in a New Jersey federal court for alleged antitrust violations in
            blocking its access to information about the drug’s active ingredients. Par sued
            Sandoz for patent infringement to block that drugmaker from marketing a
            generic version of vasopressin. Par recently reached confidential settlements
            with both companies, Tichy said.

            None of the three companies would comment on the settlements.

            Heather Zoumas-Lubeski, vice president of corporate affairs for Endo
            International, which owns Par, justified Vasostrict’s price by saying the
            company “invested significant time and resources in the formulation, approval,
            and manufacturing” and “continues to invest in efforts that benefit patients.”

            Drug manufacturers, including makers of generics, opposed the elimination of
            the UDI program and have urged the FDA to continue to grant approvals and
            market exclusivity to branded versions of previously unapproved older drugs.

            They particularly oppose the Trump administration’s proposal to let the FDA
            determine that some older, non-patented drugs are “generally recognized as
            safe and effective,” known as having GRASE status, and don’t need to go
            through a new drug approval process.

            Broadly granting GRASE status would “allow potentially unsafe, ineffective, or
            poor-quality drugs to enter the U.S. market, and put patients at risk,” the
            Pharmaceutical Research and Manufacturers of America warned in December
            in response to the Trump administration’s request for comments on what
            should replace the UDI program. The trade group stressed that the FDA is not
            allowed under law to consider drug prices in making approval decisions.



https://khn.org/news/article/the-fda-seeks-a-new-way-to-review-old-drugs-without-causing-prices-to-soar/                            5/7
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                                                                                 Causing Prices to Soar62  of 63
                                                                                                        | Kaiser   PageID
                                                                                                                 Health News   #:
                                                                        108611
            But drug policy researchers say drugmakers generally have done little or no
            original research to improve the safety and efficacy of old unapproved drugs or
            expand clinical uses for these products. They also say there’s no justification
            for the much higher prices of the FDA-approved branded versions.

            One exception they cite is L-cysteine, an amino acid used in intravenous
            nutrition for preterm infants, which Exela Pharma Sciences improved by
            removing potentially harmful metals. The company won FDA approval for its
            new branded version, Elcys, in 2019. Its wholesale price is $8.24 per milliliter,
            compared with $0.24 per milliliter for the previous generic product.

            “That company did a lot of work to bring a new and improved formulation to
            market,” said Soumi Saha, vice president of advocacy for Premier, which does
            group purchasing for health care providers. “That’s different than taking the
            same recipe, slapping a different label on it and seeking market exclusivity.”

            This isn’t just an abstract policy issue. The higher prices resulting from the
            branding of cheap old drugs can significantly affect patient care.

            Colchicine’s higher price prompted Dr. Marcus Snow, a rheumatologist in
            Omaha, to switch some of his gout patients to more affordable anti-
            inflammatory drugs. But those drugs can elevate blood sugar and affect kidney
            function, so he has to be vigilant.

            The drug’s price also could become a bigger issue as its use expands. Recent
            studies have shown that colchicine is effective in preventing complications
            after heart attacks, and that it may be effective in reducing heart problems in
            covid patients. If demand soars for these new uses, Par and other colchicine
            distributors might seek further price hikes for this ancient drug.

            “I would love to see colchicine drop to the old days of pennies per pill through
            generic availability,” said Snow, who heads the American College of
            Rheumatology’s Committee on Rheumatic Care. “But I’m not expecting that.”




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          12:56 PM1:18-cv-02032-CFC-CJB       Document
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                                                               Old Drugs      11/12/21
                                                                         Without             Page
                                                                                 Causing Prices to Soar63  of 63
                                                                                                        | Kaiser   PageID
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                                                                        108612
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